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13
14                                UNITED STATES DISTRICT COURT
15                            CENTRAL DISTRICT OF CALIFORNIA
16                                     WESTERN DIVISION
17 GRASSHOPPER HOUSE, LLC,                         Case No. 2:18-CV-923 SVW (RAOx)
18                   Plaintiff,                    DEFENDANTS’ NOTICE OF
                                                   MOTION AND MOTION TO DISMISS
19              v.                                 ALL CAUSES OF ACTION IN FIRST
                                                   AMENDED COMPLAINT
20 CLEAN & SOBER MEDIA                             [FED. R. CIV. P. 12(b)(6)]
   LLC, et al.,
21                                                 Date:         July 2, 2018
                Defendants.                        Time:         1:30 p.m.
22                                                 Location:     Courtroom 10A
                                                   Judge:        Hon. Stephen V. Wilson
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                                     DEFENDANTS’ MOTION TO DISMISS
                                      CASE NO. 2:18-CV-923 SVW (RAOx)
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                                                         1              PLEASE TAKE NOTICE that on July 2, 2018 at 1:30 p.m. or as soon thereafter
                                                         2 as the matter may be heard before the Honorable Stephen V. Wilson of the United States
                                                         3 District Court for the Central District of California, in Courtroom 10A, located at 350
                                                         4 West 1st Street, 10th Floor, Los Angeles, California 90012, Defendants Clean & Sober
                                                         5 Media LLC, Cliffside Malibu, and Richard L. Taite (collectively, “Defendants”) will
                                                         6 and hereby do respectfully move this Court, pursuant to Federal Rule of Civil
                                                         7 Procedure 12(b)(6), for an order dismissing this action with prejudice. This Motion is
                                                         8 brought on the grounds that Plaintiff has failed to state a claim upon which relief can
                                                         9 be granted.
                                                        10              Defendants’ Motion is based on this Notice of Motion and Motion to Dismiss,
                                                        11 the supporting Memorandum of Points and Authorities, the concurrently filed Special
 725 S. FIGUEROA ST, STE 1830




                                                        12 Motion to Strike (Cal. Code Civ. P. § 425.16); the concurrently filed Request for
                                LOS ANGELES, CA 90017




                                                        13 Judicial Notice with Exhibits A-D; the concurrently filed Declaration of John Stokes;
                                                        14 the concurrently filed Declaration of Allison McCabe; the concurrently filed
                                                        15 Declaration of Benjamin Seymour; the pleadings and records on file in this matter; any
                                                        16 other matters of which this Court may take judicial notice; and such other evidence and
MAH E R
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                                                        17 argument as may be presented at the hearing on this Motion.
                                                        18              This Motion is made following the conference of counsel pursuant to Local
                                                        19 Rule 7-3, which took place on May 23, 2018. See Declaration of John Stokes.
                                                        20                                                Respectfully submitted,
                                                        21 Dated: May 30, 2018                            STRIS & MAHER LLP
                                                        22                                                /s/ Peter K. Stris
                                                                                                          Peter K. Stris
                                                        23                                                Brendan S. Maher
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                                                                                            DEFENDANTS’ MOTION TO DISMISS
                                                                                             CASE NO. 2:18-CV-923 SVW (RAOx)
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